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                         UNITED STATES DISTRICT COURT

                        SOUTHERN DISTRICT OF NEW YORK


ANAYA WASHINGTON, individually and            Case No. 1:24-cv-02327
on behalf of all others similarly situated,
                                              CLASS ACTION COMPLAINT
                     Plaintiff,
                                              DEMAND FOR JURY TRIAL
       v.

REYNOLDS CONSUMER PRODUCTS
LLC,

                     Defendant.
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       Plaintiff Anaya Washington (“Plaintiff”), on behalf of herself and all others similarly

situated (the “Class,” as defined below), brings this Class Action Complaint against Defendant

Reynolds Consumer Products LLC (“Defendant”) and alleges upon information and belief, except

for allegations about Plaintiff, which are based on personal knowledge, as follows:

                                 FACTUAL ALLEGATIONS

       1.      Defendant manufactures, labels, markets, and sells aluminum foil under the

“Reynolds Wrap” brand which it labels with the words “FOIL MADE IN U.S.A.” followed by

three stars (the “Product” or “Products”). An exemplar of the Product labeling is below:




       2.      American consumers value buying products which are made in America.

       3.      The Federal Trade Commission (“FTC”) defines “Made in the United States,” and

its synonyms, such as “Made in U.S.A.,” to mean any unqualified representation, express or

implied, that a product, and by extension, the raw materials used in its manufacture, are of U.S.




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origin. 16 C.F.R. §§ 323.1(a), 323.2.

       4.      Companies that use unqualified claims that products are “Made in U.S.A.” can

mislead consumers when raw materials used in those products are sourced and/or transformed

outside of the United States.

       5.      The FTC considers it a deceptive practice to label a product as “Made in the United

States” unless (1) the final assembly or processing of the product occurs in the United States, (2) all

significant processing that goes into the product occurs in the United States, and (3) all or virtually

all ingredients or components of the product are made and sourced in the United States. 16 C.F.R.

§ 323.2.

       6.      Due to Defendant’s representation “FOIL MADE IN U.S.A.” followed by three

stars, consumers will expect that all or virtually all of the raw materials used in the foil Product

are sourced from within the United States, and a substantial amount of the transformation of the

Product’s raw materials into the Product took place within the United States.

       7.      The three stars reinforce the “Made in U.S.A.” claim because stars are uniquely

associated with the United States, seen through its flag.

       8.      The raw material for the aluminum in aluminum foil is bauxite, the only

commercial ore of aluminum.

       9.      The largest suppliers of bauxite for aluminum include Australia, Guinea, India,

Brazil, and Jamaica.

       10.     Until World War II, the U.S. and France were the world’s major suppliers of

bauxite, as well as the world’s major producers of aluminum.

       11.     Since 1981, none of the bauxite mined in the U.S. was used for aluminum.

       12.     In 2013, the U.S. mined 1.3 percent of the bauxite it used, less than 0.1 percent of




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world production.

       13.     U.S.-mined bauxite is used for abrasives, high-temperature refractory materials,

and as a high-strength proppant for hydraulic fracturing of oil and gas wells.

       14.     Without bauxite sourced from outside the United States, it would be impossible to

produce the foil Product. All, or virtually all, of the bauxite used in the Products is sourced from

outside of the United States, contrary to the “Made in U.S.A.” claim.

       15.     In the process of making aluminum foil, bauxite is processed and refined into

alumina, and alumina is then turned through a smelting process into aluminum in the form of

aluminum ingots. The aluminum ingots are then further processed to make aluminum foil. See

Aluminium, GEOSCIENCE AUSTRALIA, AUSTRALIAN GOVERNMENT (2021), https://www.ga.gov.au/

education/classroom-resources/minerals-energy/australian-mineral-facts/aluminium

[https://perma.cc/HR5J-66FP].

       16.     The aluminum in the Product is not a “raw material” of the Product because it

originates as bauxite and must be transformed from bauxite into alumina and then transformed

from alumina into aluminum before it can be further processed into aluminum foil. The

transformation of bauxite to alumina is a multi-step, complicated process, as is the transformation

of alumina into aluminum. Id. (under the heading “Processing”). According to Geoscience

Australia, an agency of the Australian Government:

               i.      In almost all commercial operations, alumina is extracted from bauxite by

                       the Bayer refining process. The process, discovered by Karl Josef Bayer in

                       1888, consists of four stages.

                       a.     Digestion: the finely ground bauxite is fed into a steam-heated unit

                              called a digester. Here it is mixed, under pressure, with a hot solution




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                   of caustic soda. The aluminum oxide of the bauxite (and the reactive

                   silica) reacts with the caustic soda forming a solution of sodium

                   aluminate or green liquor and a precipitate of sodium aluminum

                   silicate.

             b.    Clarification: the green liquor or alumina-bearing solution is

                   separated from the waste the undissolved iron oxides and silica

                   which were part of the original bauxite and now make up the sand

                   and red mud waste. This stage involves three steps: firstly, the coarse

                   sand-sized waste is removed and washed to recover caustic soda;

                   secondly, the red mud is separated out; and, finally the remaining

                   green liquor is pumped through filters to remove any residual

                   impurities. The sand and mud are pumped together to residue lakes

                   and the green liquor is pumped to heat exchangers where it is cooled

                   from 1000°C to around 650-790°C.

             c.    Precipitation: the alumina is precipitated from the liquor as crystals

                   of alumina hydrate. To do this, the green liquor solution is mixed in

                   tall precipitator vessels with small amounts of fine crystalline

                   alumina, which stimulates the precipitation of solid alumina hydrate

                   as the solution cools. When completed the solid alumina hydrate is

                   passed on to the next stage and the remaining liquor, which contains

                   caustic soda and some alumina, goes back to the digesters.

             d.    Calcination: the alumina hydrate is washed to remove any

                   remaining liquor and then dried. Finally, it is heated to about 1000°C




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                    to drive off the water of crystallization, leaving the alumina—a dry,

                    pure white, sandy material. A portion of the alumina may be left in

                    the hydrate form or further processed for the chemical industry.

       ii.   Alumina is turned into aluminum through a smelting process. All

             commercial production of aluminum is based on the Hall-Héroult smelting

             process in which the aluminum and oxygen in the alumina are separated by

             electrolysis. Electrolysis involves passing an electric current through a

             molten solution of alumina and natural or synthetic cryolite (sodium

             aluminum fluoride). The molten solution is contained in reduction cells or

             pots which are lined at the bottom with carbon (the cathode) and are

             connected in an electrical series called a potline. Inserted into the top of

             each pot are carbon anodes, the bottoms of which are immersed in the

             molten solution.

             a.     The passage of an electric current causes the oxygen from the

                    alumina to combine with the carbon of the anode forming carbon

                    dioxide gas. The remaining molten metallic aluminum collects at the

                    cathode on the bottom of the pot. Periodically, it is siphoned off and

                    transferred to large holding furnaces. Impurities are removed,

                    alloying elements added and the molten aluminum is cast into

                    ingots.

             b.     The smelting process is a continuous one. As the alumina content of

                    the cryolite bath is reduced more is added. Heat generated by the

                    passage of the electric current maintains the cryolite bath in its




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                                  molten state so that it will dissolve the alumina. A great amount of

                                  energy is consumed during the smelting process; from 14,000 -

                                  16,000 kilowatt hours of electrical energy is needed to produce one

                                  tonne of aluminum from about two tonnes of alumina. Aluminum is

                                  sometimes referred to as ‘solid electricity’ owing to the large

                                  amount of power used in its production. The availability of cheap

                                  electricity is therefore essential for economic production.

               iii.       Aluminum ingots are produced in various shapes and sizes depending on

                          their end use. They may be rolled into plate, sheet, foil, bars or rods. They

                          may be drawn into wire which is stranded into cable for electrical

                          transmission lines. Presses extrude the ingots into hundreds of different

                          useful and decorative forms or fabricating plants may convert them into

                          large structural shapes.

       17.     A substantial amount of the bauxite that is used to make (ultimately) the aluminum

that is used in the Product is transformed into alumina outside of the United States. See Top

Alumina      Refineries      in    the     World,        AL   CIRCLE    BIZ    (Sept.    27,    2021),

https://www.alcirclebiz.com/blog-top-alumina-refineries-in-the-world          [https://perma.cc/545V-

4QPD]; Top five alumina refineries in the world by capacity, AL CIRCLE (Beethika Biswas ed.

Dec. 15, 2018), https://www.alcircle.com/news/top-five-alumina-refineries-in-the-world-by-

capacity-39754 [https://perma.cc/B2SJ-Z4QB] (alumina production in North America (including

Canada) from the first quarter to the fourth quarter in 2018 accounted for only around 2.2% of

world alumina production). A document by Alcoa, which is a major bauxite miner, alumina refiner,

and aluminum smelter, identifies the top 20 global bauxite mines excluding China in 2023 by




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Wood Mackenzie estimated annual production, as well as the top 20 global alumina refineries

excluding China in 2023 by Wood Mackenzie estimated annual production; as shown below, none

of these bauxite mines or alumina refineries are within the United States. Alcoa announces

agreement with Alumina Limited on terms and process to acquire Alumina Limited in an all-stock

transaction   at   12,   ALCOA    (Feb.   25,   2024)      https://s29.q4cdn.com/945634774/files/

doc_presentations/2024/Feb/25/alcoa-investor-presentation-20240225_final.pdf

[https://perma.cc/JXW2-2KFW]; see also id. at 9, 11, 20.

              Top 20 global bauxite mines ex China (2023), as listed in Alcoa document
              1. SMB-WAP – Guinea
              2. Weipa / Amrun – Australia
              3. Huntly – Australia
              4. CBG – Guinea
              5. Boddington – Australia
              6. Boffa – Guinea
              7. Sangaredi – Guinea
              8. Trombetas – Brazil
              9. Gove – Australia
              10. Paragominas – Brazil
              11. Willowdale – Australia
              12. Panchpatmali – India
              13. Baphlimali – India
              14. Juruti – Brazil
              15. Indonesia Ketapang – Indonesia
              16. Al Ba’itha – Saudi Arabia
              17. Timan – Russia
              18. Bauxite Hills (Project) – Australia
              19. Discovery Bay – Jamaica
              20. Kodingamali – India

              Top 20 global alumina refineries ex China (2023), as listed in Alcoa document
              1. Alunorte – Brazil
              2. Worsley – Australia
              3. Pinjarra – Australia
              4. Alumar – Brazil
              5. Gladstone (Qal) – Australia
              6. Yarwun – Australia
              7. Wagerup – Australia
              8. Al Taweelah – United Arab Emirates
              9. Utkal – India



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               10. Damanjodi – India
               11. Ketapang – Indonesia
               12. Ras Al-Khair – Saudi Arabia
               13. Lanjigarh – India
               14. Bintan Alumina – Indonesia
               15. Vaudreuil – Canada
               16. Aughinish – Ireland
               17. Kwinana – Australia
               18. Pavlodar – Kazakhstan
               19. Jamalco – Jamaica
               20. Bogoslovsk – Russia

        18.    A substantial amount of the alumina that is used in the aluminum that is used in the

Product is transformed into aluminum outside of the United States. See Aluminum smelters of the

World     (outside   of    China),     ASKJA     ENERGY      PARTNERS      (Sept.    29,    2020),

https://askjaenergy.com/2020/09/29/aluminum-smelters-of-the-world-outside-of-china/

[https://perma.cc/N6DZ-MJ5M]; From ore to ingots: Meet the top 5 aluminium smelters in the

world, AL CIRCLE BIZ (Jan. 12, 2024), https://www.alcirclebiz.com/blog-from-ore-to-ingots-

meet-the-top-5-aluminium-smelters-in-the-world [https://perma.cc/A98C-YQJ4].

        19.    Because a substantial amount of the bauxite that is used (ultimately) in the

aluminum in the Products, as well as a substantial amount of the alumina that is used in the

aluminum in the Products, are transformed into aluminum outside of the United States, a

substantial amount of the making, manufacturing, and/or production of the aluminum foil Products

takes place outside of the United States, contrary to the “Made in U.S.A.” claim.

        20.    Defendant attempts to qualify the “Made in U.S.A.” claim by purporting to limit its

applicability to the “FOIL,” that the “FOIL [is] MADE IN U.S.A.”

        21.    This is insufficient to qualify the “Made in U.S.A.” claim because consumers are

not familiar with the sources of bauxite, the locations where bauxite is transformed into alumina,

or the locations where alumina is transformed into aluminum.




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        22.     Reasonable consumers do not understand Defendant’s claim to refer only to the

processing of aluminum ingots into aluminum foil.

        23.     Assuming (without conceding) that Defendant processes aluminum ingots into

aluminum foil only in the United States, using only American workers, the claim is not qualified

to state only this.

        24.     Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes, and features of a product, relative to itself and other

comparable products or alternatives.

        25.     Consumers frequently rely on representations, imagery, colors, and information on

the labeling of products such as aluminum foil—especially the front labeling—in making purchase

decisions.

        26.     Reasonable consumers read and relied on Defendant’s “Made in U.S.A.”

representations when purchasing the Products, as they were on the front labeling of the Product.

        27.     At the time Plaintiff and reasonable consumers purchased the Products, they did

not know, and had no reason to know, that the Products’ “Made in U.S.A.” representations on the

label were false, misleading, deceptive, and unlawful as set forth herein.

        28.     Defendant’s “Made in U.S.A.” representations were material to Plaintiff’s and the

Class members’ decisions to purchase the Products.

        29.     Defendant knew, or should have known, that the “Made in U.S.A.” representations

were false, misleading, deceptive, and unlawful, at the time that it advertised the Products and

intentionally and deliberately placed the “Made in U.S.A.” representations on the Products’

labeling and packaging.

        30.     Plaintiff and the Class members paid a price premium for Defendant’s aluminum




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foil Products based on the “Made in U.S.A.” representations.

       31.     The value of the Products that Plaintiff purchased was materially less than their

value as represented by Defendant by means of the “Made in U.S.A.” representations.

       32.     Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       33.     Had Plaintiff and the Class members known the truth, they would not have bought

the Product or would have paid less for it.

       34.     As a result of the false and misleading representations, the Product is sold for a

price premium, approximately no less than $4.99 per 75 square feet, excluding tax or any sales,

higher than similar products, represented in a non-misleading way, and higher than it would be

sold for absent the misleading representations and omissions that the Product is “Foil Made in

U.S.A.”

                                              PARTIES

       Plaintiff Anaya Washington

       35.     Plaintiff Anaya Washington resides in the Bronx, New York.

       36.     Plaintiff purchased the Product at locations including Target on 225th Street, C-

Town, and BJ’s in the Bronx, New York during the statutory period.

       37.     Plaintiff believed the Product was “Made in U.S.A.,” understood to mean the raw

materials for the Product were converted and transformed in the U.S.A., and the raw materials

were sourced within this country.

       38.     Plaintiff bought the Product because she expected it was “Made in U.S.A.,”

understood to mean the raw materials for the Product were converted and transformed in the

U.S.A., and the raw materials were sourced within this country, because that is what the




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representations said and implied.

       39.        Plaintiff relied on the words, layout, packaging, and images on the Product label in

deciding to purchase the Product, including the “Foil Made in U.S.A.” plus three stars

representation.

       40.        Plaintiff is one of the many Americans who seeks to buy American.

       41.        Plaintiff trusted the Reynolds Wrap brand, because it is the equivalent of Kleenex

(facial tissues) and Vaseline (petroleum jelly) in terms of its identity and position in its product

category.

       42.        Plaintiff did not expect a product, especially from the Reynolds brand, would

promise it was “Foil Made in U.S.A.” even though all or virtually all of the raw materials used

were from outside of the United States and a substantial amount of the making, manufacturing,

and/or production of the aluminum foil Product took place outside of the United States.

       43.        The “Made in U.S.A.” claim was deceptive because in fact, all or virtually all of

the raw materials used in the Product were from outside of the United States, and a substantial

amount of the making, manufacturing, and/or production of the aluminum foil Product took place

outside of the United States.

       44.        Plaintiff would not have purchased the Product if she knew the “Made in U.S.A.”

representations and omissions were false and misleading, or she would have paid less for it.

       45.        The Product was worth less than what Plaintiff paid, and she would not have paid

as much absent Defendant’s false and misleading statements and omissions.

       Defendant Reynolds Consumer Products LLC

       46.        Defendant Reynolds Consumer Products LLC is a Delaware limited liability

company with its principal place of business in Lake Forest, Illinois, which is in Lake County,




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Illinois.

         47.    Defendant is one of the oldest producers of aluminum products in the world.

         48.    Defendant was instrumental in helping the United States achieve victory in the

Second World War, through its commitment to converting bauxite into military equipment, used

to defeat the Axis powers.

         49.    For these, and other reasons, Defendant’s packaging truthfully states that

“Reynolds Wrap [is] TRUSTED SINCE 1947.”

         50.    Defendant’s aluminum foil is a staple of Americana, with a variety of uses beyond

wrapping up food.

         51.    The Product is available to consumers in this District from third parties which

include grocery stores, warehouse club stores, drug stores, convenience stores, big box stores, and

online retailers.

                                 JURISDICTION AND VENUE

         52.    Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

         53.    The aggregate amount in controversy exceeds $5 million, exclusive of interest and

costs.

         54.    Plaintiff is a citizen of New York.

         55.    Defendant is a Delaware limited liability company with its principal place of

business in Illinois.

         56.    Upon information and belief, at least one member of Defendant is not a citizen of

the same state as Plaintiff or the Class of persons Plaintiff seeks to represent.

         57.    The members of the Class Plaintiff seeks to represent are more than 100, because




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the Product has been sold for several years with the “FOIL MADE IN U.S.A.” representations at

issue in numerous grocery stores, dollar stores, warehouse club stores, drug stores, convenience

stores, big box stores, and online retailers across the State.

       58.     Venue is proper in this District because a substantial part of the events or omissions

giving rise to the claims occurred in Bronx County, including Plaintiff’s purchase of the Product

and awareness and experiences of and with the issues described here.

       59.     This Court has personal jurisdiction over Defendant because it transacts business

within New York and sells aluminum foil labeled “FOIL MADE IN U.S.A.” to consumers within

New York, including the Product sold to Plaintiff.

                                     CLASS ALLEGATIONS

       60.     Plaintiff seeks certification under Federal Rule of Civil Procedure 23(a) and (b)(3)

of the following class:

       The Class. All persons in New York who purchased the Product from March 26,
       2021, to the present.

       61.     Excluded from the Class are (a) Defendant, Defendant’s board members, executive-

level officers, and attorneys, and immediate family members of any of the foregoing persons;

(b) governmental entities; (c) the Court, the Court’s immediate family, and Court staff; and (d) any

person that timely and properly excludes himself or herself from the Class.

       62.     Plaintiff reserves the right to amend the definition of the Class if discovery or

further investigation or analysis reveal the Class should be expanded, narrowed, or otherwise

revised.

       63.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as

individual Class members would use to prove those elements in individual actions alleging the



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same claims.

       64.     Numerosity. The size of the Class is so large that joinder of all Class members is

impracticable. Due to the nature of Defendant’s business, Plaintiff believes there are at least

thousands, if not hundreds of thousands, of Class members geographically dispersed throughout

New York.

       65.     Commonality and Predominance. There are questions of law and fact common

to the Class. These questions predominate over any questions affecting only individual Class

members. Common legal and factual questions include but are not limited to:

               i.      whether Defendant engaged in the course of conduct alleged herein;

               ii.     whether Defendant labeled the Product as “FOIL MADE IN U.S.A.”
                       followed by three stars or “FOIL MADE IN U.S.A.”;

               iii.    whether all or virtually all of the bauxite used in the Products is sourced
                       from outside of the United States;

               iv.     whether a substantial amount of the making, manufacturing, and/or
                       production of the Product took place outside of the United States;

               v.      whether Defendant’s representation that the Products were “FOIL MADE
                       IN U.S.A.,” followed by three stars, is likely to deceive a reasonable
                       consumer;

               vi.     whether Defendant’s representation that the Products were “FOIL MADE
                       IN U.S.A.,” followed by three stars, is material to a reasonable consumer;

               vii.    whether Defendant’s representations and/or omissions violate the consumer
                       protection statutes invoked below;

               viii.   whether Plaintiff and the Class members have suffered injury in fact and
                       lost money as a result of Defendant’s acts, omissions, or misrepresentations
                       of material facts; and

               ix.     whether Plaintiff and the Class members are entitled to actual damages,
                       statutory damages, and/or other monetary relief including restitution or
                       disgorgement.

       66.     Defendant engaged in a common course of conduct in contravention of the laws



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Plaintiff seeks to enforce individually and on behalf of the Class members. Similar or identical

statutory violations, business practices, and injuries are involved. Individual questions, if any, pale

by comparison, in both quality and quantity, to the numerous common questions that dominate

this action. Moreover, the common questions will yield common answers.

        67.    Typicality. Plaintiff’s claims are typical of the claims of the Class members

because Defendant injured all Class members through the uniform misconduct described herein;

all Class members were subject to Defendant’s false, misleading, and unfair advertising and

marketing practices and representations, including the false and misleading claims that the

Products are “FOIL MADE IN U.S.A.”; and Plaintiff seeks the same relief as the Class members.

        68.    Furthermore, there are no defenses available to Defendant that are unique to

Plaintiff.

        69.    Adequacy of Representation. Plaintiff is a fair and adequate representative of the

Class because Plaintiff’s interests do not conflict with the Class members’ interests. Plaintiff will

prosecute this action vigorously and is highly motivated to seek redress against Defendant.

Furthermore, Plaintiff has selected competent counsel that are experienced in class action and other

complex litigation. Plaintiff and her counsel are committed to prosecuting this action vigorously

on behalf of the Class and have the resources to do so.

        70.    Superiority. The class action mechanism is superior to other available means for

the fair and efficient adjudication of this controversy for reasons including but not limited to the

following:

               i.      The damages individual Class members suffered are small compared to the
                       burden and expense of individual prosecution of the complex and extensive
                       litigation needed to address Defendant’s conduct.

               ii.     Further, it would be virtually impossible for the Class members individually
                       to redress effectively the wrongs done to them. Even if Class members



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                       themselves could afford such individual litigation, the court system could
                       not. Individualized litigation would unnecessarily increase the delay and
                       expense to all parties and to the court system and presents a potential for
                       inconsistent or contradictory rulings and judgments. By contrast, the class
                       action device presents far fewer management difficulties, allows the hearing
                       of claims which might otherwise go unaddressed because of the relative
                       expense of bringing individual lawsuits, and provides the benefits of single
                       adjudication, economies of scale, and comprehensive supervision by a
                       single court.

       71.     Notice. Plaintiff and her counsel anticipate that notice to the proposed Class will

be effectuated through recognized, Court-approved notice dissemination methods, which may

include United States mail, electronic mail, Internet postings, and/or published notice.

                                    CLAIMS FOR RELIEF

                                         FIRST CLAIM

                  Violation of New York General Business Law Section 349

                     By Plaintiff against Defendant on Behalf of the Class

       72.     Plaintiff repeats each and every allegation contained in the paragraphs above and

incorporates such allegations by reference herein.

       73.     Plaintiff brings this claim on behalf of the Class for violation of New York General

Business Law section 349.

       74.     Under section 349, “[d]eceptive acts or practices in the conduct of any business,

trade or commerce or in the furnishing of any service in [the State of New York] are . . . declared

unlawful.” N.Y. GEN. BUS. LAW § 349(a).

       75.     As alleged above, by advertising, marketing, distributing, and/or selling the

Products with claims that they are “FOIL MADE IN U.S.A.” followed by three stars to Plaintiff

and the members of the Class, Defendant has engaged in deceptive acts and practices. Defendant’s

conduct is deceptive because Defendant has made materially false and misleading express and




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implied representations and omissions that cause reasonable consumers to believe the Product is

“FOIL MADE IN U.S.A.,” understood to mean the raw materials for the Product were converted

and transformed in the U.S.A., and the raw materials (including bauxite) were sourced within this

country.

       76.     As detailed above, in fact, the Products are not “Made in U.S.A.” because all or

virtually all of the bauxite used to make the Products is obtained outside of the United States, and

a substantial amount of the making, manufacturing, and/or production of the aluminum foil

Product takes place outside of the United States, including a substantial amount of the

transformation of bauxite into alumina and a substantial amount of the transformation of alumina

into aluminum.

       77.     Plaintiff and the Class members would not have purchased the Products at a

premium price had they known the Products were not actually “MADE IN U.S.A.”

       78.     Plaintiff and the Class members were injured in fact and lost money as a result of

Defendant’s conduct of describing the Products as “FOIL MADE IN U.S.A.” followed by three

stars. Plaintiff and the Class members paid for Products that were “FOIL MADE IN U.S.A.” but

did not receive such Products. The Products Plaintiff and the Class members received were worth

less than the Products for which they paid. Plaintiff and the Class members paid a premium price

on account of Defendant’s misrepresentations that the Products were ““FOIL MADE IN U.S.A.”

followed by three stars.

       79.     By reason of the foregoing, Defendant’s actions, as alleged herein, constitute

deceptive acts and practices in violation of section 349, and Plaintiff and the Class members seek

to recover their actual damages or $50, whichever is greater. N.Y. GEN. BUS. LAW § 349(h).

       80.     Plaintiff and the Class members further seek declaratory relief, restitution for




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monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, attorneys’ fees

and costs, and any other relief allowable under New York General Business Law section 349.

                                       SECOND CLAIM

                  Violation of New York General Business Law Section 350

                     By Plaintiff against Defendant on Behalf of the Class

       81.     Plaintiff repeats each and every allegation contained in the paragraphs above and

incorporates such allegations by reference herein.

       82.     Plaintiff brings this claim on behalf of the Class for violation of New York General

Business Law section 350.

       83.     Under section 350, “[f]alse advertising in the conduct of any business, trade or

commerce or in the furnishing of any service in [the State of New York] is . . . declared unlawful.”

N.Y. GEN. BUS. LAW § 350.

       84.     As alleged above, by advertising, marketing, distributing, and/or selling the

Products with claims that they are “FOIL MADE IN U.S.A.,” followed by three stars, to Plaintiff

and the members of the Class, Defendant has engaged in false advertising. Defendant’s conduct is

deceptive because Defendant has made materially false and misleading express and implied

representations and omissions that cause reasonable consumers to believe the Product is “FOIL

MADE IN U.S.A.,” understood to mean the raw materials for the Product were converted and

transformed in the U.S.A., and the raw materials (including bauxite) were sourced within this

country.

       85.     As detailed above, in fact, the Products are not “MADE IN U.S.A.” because all or

virtually all of the bauxite used to make the Products is obtained outside of the United States, and

a substantial amount of the making, manufacturing, and/or production of the aluminum foil




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Product takes place outside of the United States, including a substantial amount of the

transformation of bauxite into alumina and a substantial amount of the transformation of alumina

into aluminum.

       86.     Plaintiff and the Class members would not have purchased the Products at a

premium price had they known the Products were not actually “MADE IN U.S.A.”

       87.     Plaintiff and the Class members were injured in fact and lost money as a result of

Defendant’s conduct of describing the Products as “FOIL MADE IN U.S.A.” followed by three

stars. Plaintiff and the Class members paid for Products that were “FOIL MADE IN U.S.A.” but

did not receive such Products. The Products Plaintiff and the Class members received were worth

less than the Products for which they paid. Plaintiff and the Class members paid a premium price

on account of Defendant’s misrepresentations that the Products were “FOIL MADE IN U.S.A.”

followed by three stars.

       88.     By reason of the foregoing, Defendant’s actions, as alleged herein, constitute false

advertising in violation of section 350, and Plaintiff and the Class members seek to recover their

actual damages or $500, whichever is greater. N.Y. GEN. BUS. LAW § 350-e(3).

       89.     Plaintiff and the Class members further seek declaratory relief, restitution for

monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, attorneys’ fees

and costs, and any other relief allowable under New York General Business Law section 350.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the members of the Class,

respectfully requests the Court to enter an Order:

       A.      certifying the proposed Class under Federal Rule of Civil Procedure 23(a) and

(b)(3), as set forth above;




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        B.      declaring that Defendant is financially responsible for notifying the Class members

of the pendency of this suit;

        C.      declaring that Defendant has committed the violations of law alleged herein;

        D.      awarding monetary damages, including but not limited to any statutory, actual,

compensatory, incidental, or consequential damages in an amount that the Court or jury will

determine, in accordance with applicable law;

        E.      providing for any and all equitable monetary relief the Court deems appropriate;

        F.      awarding Plaintiff her reasonable costs and expenses of suit, including attorneys’

fees;

        G.      awarding pre- and post-judgment interest to the extent the law allows; and

        H.      providing such further relief as this Court may deem just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury on all claims so triable.



Date: March 27, 2024                             Respectfully submitted,

                                                 REESE LLP

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                                  Proposed Class




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